Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 1 of 7 PageID #: 6894



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  IMPLICIT, LLC,
       Plaintiff,
                                           Case No. 2:19-cv-00040-JRG-RSP
  v.
                                                     LEAD CASE
  IMPERVA, INC.
        Defendant.
  IMPLICIT, LLC,
       Plaintiff,
                                           Case No. 2:19-cv-00037-JRG-RSP
  v.

  JUNIPER NETWORKS, INC.
        Defendant.

            PLAINTIFF IMPLICIT, LLC’S SUR-REPLY IN OPPOSITION TO
            DEFENDANT JUNIPER NETWORKS, INC’S MOTION TO STAY
             PENDING DECISION ON TRANSFER MOTION (DKT. NO. 174)
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 2 of 7 PageID #: 6895



  I.     Introduction

         Juniper’s Reply, like its Motion, does not provide a sufficient reason to stay this case as

  the Markman hearing approaches. Indeed, Juniper still has not substantively addressed the three

  stay factors that the Court considers in determining whether to stay a case. It instead continues to

  rely on Federal Circuit non-precedential cases that do not require a stay. Those cases do not apply

  here. And, under the three-factor test that does apply here, a stay is not warranted.

  II.    Juniper’s Cited Federal Circuit Decisions Do Not Require a Stay

         Juniper relies on a number of non-precedential Federal Circuit decisions, calls these

  decisions “Federal Circuit case law,” and then faults Implicit for “all but ignor[ing] this extensive

  Federal Circuit case law.” Reply, at 1–2. Implicit responded to Juniper’s arguments in its

  Response. Resp., at 6. And the non-precedential decisions that Juniper represents as “extensive

  Federal Circuit case law” explicitly state that they are not binding precedent: “THIS DECISION

  WAS ISSUED AS UNPUBLISHED OR NONPRECEDENTIAL AND MAY NOT BE CITED

  AS PRECEDENT.” In re Nintendo Co., 544 F. App'x 934, 935 (Fed. Cir. 2013); see also FED.

  CIR. R. 32.1(d) (stating that the court “will not give one of its own nonprecedential dispositions

  the effect of binding precedent”).

         Those decisions do not require a stay in all circumstances. Indeed, at least one other court

  has concluded that those decisions do not require a stay. Compare Pragmatus AV, LLC v. Yahoo!

  Inc., Civil Action No. 11-902-LPS-CJB, 2013 U.S. Dist. LEXIS 79792, at *15 (D. Del. May 30,

  2013) (“[T]he Court does not read In re Fusion-IO as requiring a court to stay a case pending

  resolution of any motion to transfer filed in any situation.”) with Reply, at 1 (relying on Fusion-

  IO as requiring a stay in this case).




  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                                  1
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 3 of 7 PageID #: 6896



         Despite this, Juniper predominantly relies on the In re Nintendo non-precedential decision

  to assert that a stay is warranted in this case. Reply, at 1. But that case does not require a stay,

  reflected in Juniper’s “see” citation to the case. Id. And the sentence that Juniper quotes was not

  a statement of law requiring a stay, but the court’s response to the district court ruling on joinder

  issues under the Federal Rules without addressing the related issues under Section 1404(a): The

  court found that “this approach to the motions before the court is contrary to the principle that a

  trial court must first address whether it is a proper and convenient venue before addressing any

  substantive portion of the case.” Nintendo, 544 F. App’x at 941; see also id. at 937 (“Resolution

  of this petition involves the interplay between Federal Rules of Civil Procedure 18, 20, and 21, the

  recently adopted joinder provision of the America Invents Act, 35 U.S.C. § 299, and 28 U.S.C. §

  1404(a), the statutory provision applicable to transfer of venue. “). That is not present here.

         Nintendo does not address the situation where a party moved under § 1404(a) and, many

  months after filing that first transfer motion, then seeks a stay as the case approaches the Markman

  hearing and trial based on a recently filed second motion to transfer. Nor do Juniper’s other cited

  non-precedential decisions. See In re Google Inc., No. 2015-138, 2015 U.S. App. LEXIS 16544,

  at *1 (Fed. Cir. July 16, 2015) (ordering district court to stay proceedings after defendant moved

  to transfer approximately three motions after the case was filed and no decision was ordered after

  eight months). And, in this situation, a stay is not warranted, supported by the Pragmatus decision

  that Implicit discussed in its Response. 2013 U.S. Dist. LEXIS 79792, at *5–16.

         Juniper asserts in its Reply that Pragmatus does not apply because the court there had

  already conducted a Markman hearing and that Juniper’s stay motion was presented “well before

  this Court has had to expend resources on any substantive potion of this case.” Reply, at 2. That

  is an inaccurate description of both Pragmatus and the state of this case. This Court has already




  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                                  2
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 4 of 7 PageID #: 6897



  expended resources on this case, including a hearing on Juniper’s original motion to transfer and

  Fortinet’s motion to transfer. This case is also less than six months from trial, is approaching the

  Markman hearing, and the deadline to substantially complete document productions has passed.

  And, under the current schedule, Juniper filed its Supplemental Motion approximately two months

  before expert discovery and less than four months before the deadline for dispositive motions.

          This case is similarly postured as Pragmatus. Indeed, the transfer motion in Pragmatus

  was filed more than eight months before the then-existing deadline to file dispositive motions. Ex.

  A, (Pragmatus Docket Report). The Pragmatus decision supports denying Juniper’s Motion.

  III.    The Three Stay Factors Weigh Against a Stay

          The three stay factors weigh against a stay. Juniper’s Motion sought to stay the proceedings

  between it and Implicit—and not the consolidated case. This will likely result in duplicate

  litigation effort, a fact that Juniper does not contest in its Reply. This heavily weighs against a stay.

          Juniper now seeks new relief: “a brief stay for the entire consolidated action pending

  resolution of the open transfer issues.” Reply, at 2. But Imperva and Fortinet have not sought that

  relief. And the most Juniper can muster is that those parties allegedly “have indicated that they do

  not oppose a stay of the consolidated proceedings,” (Reply, at 2) a new assertion not previously in

  the record (or part of the Motion). It is simply too late in a reply to raise this new relief and

  represent new positions of other defendants.

          A stay of the consolidated case is also not warranted. While Fortinet only recently filed a

  second motion to transfer, it has not sought a stay. Imperva has not even moved to transfer, a fact

  Juniper does not address. A stay of the consolidated case will, at a minimum, only act to delay the

  Imperva case—which addresses issues common to the Juniper and Fortinet cases (e.g., claim

  construction). That inevitable delay weighs against a stay, a reality that Juniper does not address.




  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                                      3
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 5 of 7 PageID #: 6898



         Juniper also raises a second new argument: that Implicit’s appeal of the Sandvine judgment

  further supports Juniper’s requested stay. Juniper has not moved to stay these proceedings pending

  the Sandvine appeal. The appeal will likely take over a year to resolve,1 meaning that it will likely

  still be pending when Juniper’s requested “brief” stay expires. The appeal does not support a stay.

         Lastly, Juniper does not address the tactical advantage that will result from a stay. Juniper

  asserts that it acted with “ample diligence” in seeking a stay because it was filed shortly after the

  Supplemental Motion to Transfer. But Juniper continues to ignore that it could have moved for a

  stay when it filed of its original Motion to Transfer on the exact same basis as this stay motion. It

  did not do so. Juniper has also known about the Intel Agreement since 2011 (see Dkt. No. 178, at

  5). These facts weigh against a stay. See Rensselaer Polytechnic v. Apple Inc., Civil Action No.

  1:13-CV-0633 (DEP), 2014 U.S. Dist. LEXIS 5186, at *15 (N.D.N.Y. Jan. 15, 2014) (“In light of

  the timing of Apple’s IPR petition and its failure to offer a plausible explanation for delaying the

  filing of the petition until two days before the expiration of the deadline under the AIA, I conclude

  that this sub-factor weighs against a stay.”).

         Juniper’s recent conduct is also in tension with its assertions that a stay is appropriate.

  Implicit recently requested that Defendants, including Juniper, agree to a motion to extend the fact

  discovery, expert discovery, and dispositive motion deadlines by approximately six weeks to

  account for the new date of the Markman hearing (under the current schedule, the fact discovery

  and expert report deadlines are about a month before the Markman hearing). See Dkt. 190. That

  schedule would have provided Juniper with at least some of the relief it requests in this Motion by

  extending a number of deadlines that will come to pass in the next month under the current



  1
    See http://www.cafc.uscourts.gov/sites/default/files/the-
  court/statistics/06 Med Disp Time MERITS table Final.pdf (showing a 16-month median
  time to disposition for District Court appeals for FY2019).


  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                                  4
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 6 of 7 PageID #: 6899



  schedule. Juniper did not agree to that schedule. If Juniper were concerned with upcoming work

  on the merits of this case (e.g., fact discovery, expert discovery, dispositive motion practice), it

  would have agreed to a motion to extend those deadlines to at least some degree. That it did not

  do so reinforces that the requested stay is likely to prejudice Implicit and provide Juniper with a

  tactical advantage, as Implicit explained in detail in its Response. Resp., at 4-5.

  IV.    Conclusion

         For the foregoing reasons, Implicit respectfully requests that this Court deny Juniper’s

  Motion to Stay (Dkt. No. 174).


  Date: January 17, 2020                                        Respectfully Submitted,

                                                                By: /s/ William E. Davis, III
                                                                William E. Davis, III
                                                                (TX Bar No. 24047416)
                                                                bdavis@bdavisfirm.com
                                                                Christian J. Hurt
                                                                (TX Bar No. 24059987)
                                                                churt@bdavisfirm.com
                                                                Edward Chin (Of Counsel)
                                                                (TX Bar No. 50511688)
                                                                echin@bdavisfirm.com
                                                                Debra Coleman (Of Counsel)
                                                                (TX Bar No. 24059595)
                                                                dcoleman@bdavisfirm.com
                                                                Ty Wilson
                                                                (TX Bar No. 24106583)
                                                                twilson@davisfirm.com
                                                                THE DAVIS FIRM, PC
                                                                213 N. Fredonia Street, Suit, 230
                                                                Longview, Texas 75601
                                                                Telephone: (903) 230-9090
                                                                Facsimile: (903) 230-9661

                                                                Counsel for Plaintiff Implicit, LLC




  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                                   5
Case 2:19-cv-00040-JRG-RSP Document 194 Filed 01/17/20 Page 7 of 7 PageID #: 6900



                                  CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document and all attachments thereto are being

  filed electronically in compliance with Local Rule CV-5(a). As such, this document is being served

  this January 17, 2020, on all counsel of record, each of whom is deemed to have consented to

  electronic service. L.R. CV-5(a)(3)(A).


                                                              /s/ William E. Davis, III
                                                              William E. Davis, III




  Plaintiff’s Sur-Reply to Juniper’s Motion to Stay                                               6
